






NO. 07-03-0187-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MAY 11, 2004



______________________________




IN THE INTEREST OF AN UNBORN CHILD




_________________________________



FROM THE 181ST DISTRICT COURT OF RANDALL COUNTY;



NO. 52,328-B; HONORABLE BILLY JOHN EDWARDS, JUDGE



_______________________________




Before JOHNSON, C.J., and QUINN and REAVIS, JJ.

						


OPINION


	In Sims v. Adoption Alliance, 922 S.W.2d 213, 214 (Tex.App.--San Antonio 1996, 
writ denied), after expressing its concern for the conflicting  interests of the  parties affected
by its decision, recognizing its duty to render its opinion based on the clear language of a
statute, the court held that an affidavit of relinquishment per section 106.103(a) of the
Texas Family Code, signed by the mother 26 hours after the birth of her child was invalid. 
Now, we are presented with a question regarding the validity of an affidavit of waiver of
interest in an unborn child per section 161.106 of the Code signed by appellant G.W.B. 
By this appeal, G.W.B. seeks reversal of the judgment of the trial court declaring that the
waiver of an interest in child which he signed on September 30, 2002, complied with
section 161.106 and that the waiver is irrevocable.   By his first issue, G.W.B. contends the
trial court erred in finding that appellees A.M.B., J.B. and V.B., individually and as next
friends of A.M.B. (hereafter A.M.B.) established by clear and convincing evidence that the
affidavit complied with section 161.106.  By his second issue, he contends the trial court
erred in finding that the affidavit was executed voluntarily.  We  reverse and render.

Standard of Review


	Findings of fact in a bench trial have the same force as a jury's verdict upon jury
questions.  City of Clute v. City of Lake Jackson, 559 S.W.2d 391, 395 (Tex.Civ.App.--Houston [14th Dist.] 1977, writ ref'd n.r.e.).  However, the findings are not conclusive when
a complete statement of facts appears in the record if the contrary is established as a
matter of law or if there is no evidence to support the findings.  Middleton v. Kawasaki Steel
Corp., 687 S.W.2d 42, 44 (Tex.App.--Houston [14th Dist.] 1985), writ ref'd n.r.e., 699
S.W.2d 199 (Tex. 1985) (per curiam).  Findings of fact are reviewable for factual and legal
sufficiency under the same standards that are applied in reviewing evidence supporting a
jury's answer.  Zieben v. Platt, 786 S.W.2d 797, 799 (Tex.App.--Houston [14th Dist.] 1990,
no writ); see also W. Wendell Hall, Revisiting Standards of Review in Civil Appeals, 24 St.
Mary's L.J. 1045, 1145 (1993). 

	Our review of trial court conclusions of law is de novo.  In re Humphreys, 880 S.W.2d
402, 403 (Tex. 1994), cert. denied, 513 U.S. 964, 115 S. Ct. 427, 130 L. Ed. 2d 340 (1994). 
However, as noted above, although findings of fact are reviewable for legal and factual
sufficiency, an attack on the sufficiency of the evidence must be directed at specific findings
of fact rather than at the judgment as a whole.  In re M.W., 959 S.W.2d 661, 664 (Tex.App.
--Tyler 1997, writ denied).

	By his first issue, G.W.B. contends the trial court erred in finding that A.M.B.
established by clear and convincing evidence that the affidavit of waiver of interest in child
complied with section 161.106.  As sub-issues, he argues that the uncontroverted evidence
established he was not provided with a copy of the affidavit at the time he executed it as
required by section 161.106(i), and the Gladney Center, an adoption facility, was not named
managing conservator of the child.  Therefore, the affidavit was subject to revocation. We
agree.

	Our decision is based on a de novo review of the trial court's conclusions of law that
the affidavit signed by G.W.B. complies with section 161.106 and is irrevocable.  Thus, we
limit our review of the evidence necessary to develop that analysis.  Although A.M.B.
learned she was pregnant and informed her parents on September 17, 2002, G.W.B.,
however, was never informed by A.M.B. of the pregnancy.  Instead, on September 30,
2002, G.W.B, a high school student, was escorted from class by the assistant principal to
his office.  Also in the assistant principal's office were two uniformed liaison officers and
a school secretary.  G.W.B. was informed by the assistant principal that a "lady in Fort
Worth had some information to give him."  The assistant principal telephoned a paralegal
at the Gladney Center and handed the phone to G.W.B.  In a three to five minute
telephone conversation, the paralegal informed him that A.M.B. was pregnant, he was the
probable father, and he needed to sign an affidavit of waiver of interest in the child that had
been faxed to the assistant principal's office from the Gladney Center.  Following the
telephone conversation, the assistant principal and uniformed officers provided unsolicited
advice of the consequences of him signing the affidavit.  After approximately ten to fifteen
minutes, G.W.B. signed the affidavit and was excused to return to class.  G.W.B. was not
provided with a copy of the affidavit at that time.  

	The following day the principal of the high school spoke to G.W.B. in his office after
which G.W.B. was asked to notify his mother of the events of the previous day.  After
learning of the situation, G.W.B.'s mother called the paralegal at the Gladney Center and
informed her that she wanted to revoke the affidavit and also requested that a copy be sent
to her.  

	On October 30, 2002, G.W.B. commenced the underlying action by filing a petition
to establish parentage of the child naming A.M.B. as the mother.  A.M.B.'s parents and the
Gladney Center were also named as parties.  After G.W.B. and A.M.B. filed requests for
declaratory relief and upon the severance of the parentage issue from the validity of the
affidavit of waiver of interest, the court proceeded to consider the request for declaratory
relief by an evidentiary hearing.  By its judgment, among other things, without making any
specific declarations, the judgment recites that the court finds (emphasis added)


  	the Waiver of Interest in Child as defined in §161.106 of the Texas
Family Code, which was signed by G.W.B. on September 30, 2002
complies with §161.106 of the Texas Family Code;
  	such waiver was executed voluntarily by G.W.B.; and
  	such waiver is irrevocable.



Even though the order does not make a declaration, determination of law, or expressly grant
any relief, because no particular form is prescribed for a declaration of rights in a
declaratory judgment action, see 46933, Inc. v. Z &amp; B Enterprises, Inc. 899 S.W.2d 800, 808
(Tex.App.--Amarillo 1995, writ denied), and matters of statutory construction are questions
of law for the court, see Johnson v. City of Fort Worth, 774 S.W.2d 653, 656 (Tex. 1989),
we will construe the word "finds" to constitute a declaration based upon facts found from the
evidence.

	Upon request per Rule 296 of the Texas Rules of Civil Procedure, the trial court
signed findings of fact and conclusions of law.  However, the court did not designate which
of the 42 statements were findings of fact or conclusions of law. (1)  Moreover, even where the
trial court designates some matters findings of fact and others to be conclusions of law, the 
designation is not controlling on appeal.  See Ray v. Farmers State Bank of Hart, 576
S.W.2d 607, 608, n.1 (Tex. 1979); McAshan v. Cavitt, 149 Tex. 147, 229 S.W.2d 1016,
1020 (1950).  Because G.W.B.'s execution of the affidavit before two witnesses and its
verification were not disputed, and the questions of its validity and revocability per section
161.106 are questions of law, we will conduct a de novo review. (2)  See Hydrocarbon Mgt.
v. Tracker Exploration, 861 S.W.2d 427, 431 (Tex.App.--Amarillo 1993, no writ). Also,
because the judgment and the findings/conclusions of the trial court found that the affidavit
complied with section 161.106, we will conduct our review based on the provisions of that
section. 

	We begin our analysis by recognizing that the natural right existing between parents
and their children is of constitutional dimension and termination proceedings are strictly
scrutinized. Holick v. Smith, 685 S.W.2d 18, 20 (Tex. 1985).  Also, where, as here the
relevant statute is clear and unambiguous, rules of statutory construction are inappropriate
and the statute should be given its plain meaning.  Cail v. Service Motors, Inc., 660 S.W.2d
814, 815 (Tex. 1983); Sims v. Adoption Alliance, 922 S.W.2d 213, 215 (Tex.App.--San
Antonio 1996, writ denied).  Chapter 161 of the Family Code contains the legislative
authority and procedures for proceedings to terminate the parent-child relationship.  As
material to our review, section 161.106, entitled Affidavit of Waiver of Interest in Child,
authorizes "revocable" or "irrevocable" affidavits for purposes of proceedings under chapter
161. 

Irrevocable Affidavit


	Subsection (f) provides that an affidavit is irrevocable if it designates the Department
of Protective and Regulatory Services or a licensed child-placing agency managing
conservator of the child.  Because the affidavit signed by G.W.B. did not designate the
Department of Protective and Regulatory Services nor the Gladney Center or any other
licensed child-placing agency to serve as managing conservator of the child, the affidavit
which G.W.B. signed does not satisfy the requirements of (f) and is not irrevocable under
the subsection.  

Revocable Affidavit


	Under  the  last sentence of  subsection (f) any other affidavit under section 161.106
is revocable unless it expressly "provides that it is irrevocable for a stated period not to
exceed 60 days after the date of execution."  Here, however, G.W.B.'s affidavit provided
that it was "final and irrevocable," contrary to the 60 day maximum period allowed for an
irrevocable affidavit. 

	In addition, subsection (h) also addresses revocable affidavits and provides:

	(h) An affidavit under this section that contains a waiver that is revocable

	must contain:

		(1) a statement in boldfaced type concerning the right of the
person who executed the affidavit to revoke the affidavit only if
the revocation is made before the 11th day after the date the
affidavit is executed; and

		(2) the name and address of the person to whom the revocation
is to be delivered.


(Emphasis added).  Notwithstanding this provision, the affidavit signed by G.W.B. did not
contain any reference to revocation before the 11th day following the execution of affidavit
or state the name or address of the person to whom notice of revocation should be
delivered. 

	Under section 161.106(i), a copy of the affidavit shall be provided to the affiant when
it is signed.  However, it is undisputed that G.W.B. was not provided with a copy of the
affidavit at the time it was executed. (3)  Counsel for A.M.B. argues that G.W.B. was furnished 
a copy of the affidavit the day after it was signed.  Even if the 11 day period for revocation
did not commence to run until October 1, 2002, a question we do not decide, nevertheless
the affidavit was defective because it did not inform G.W.B. of the 11 day deadline for
revocation required under subsection (h).    

	As used in section 161.106 (h) and (i), the terms must and shall have particular legal
meaning.  According to section 311.016 of the Code Construction Act, the term shall
imposes a duty, and the term must creates or recognizes a condition precedent.  Tex. Gov't
Code Ann. Annotated § 311.016 (1) and (2) (Vernon 1998).  Considering that parental rights
are of constitutional dimension, that the proceeding is to be strictly scrutinized, Holick, 685
S.W.2d at 20, and applying the plain meaning of section 161.106, we sustain G.W.B.'s first
issue and his two sub-issues and hold that the affidavit he signed did not comply with
section 161.106 of the Code and was not irrevocable under section 161.106.  Our
disposition of G.W.B.'s first issue pretermits consideration of his second issue. 

	 Accordingly, the judgment of the trial court is reversed and judgment is rendered that
the affidavit signed September 30, 2002, by G.W.B. is invalid because it does not comply
with section 161.106.  Tex. R. App. P. 43.2(c). 	

							Don H. Reavis

						    	     Justice


									


	

	   

	

	

      





1. According to Rule 299a of the Texas Rules of Civil Procedure, findings of fact
should be separately filed.  See also 4 Roy W. McDonald &amp; Elaine A. Grafton Carlson,
Texas Civil Practice 20:8 (2d ed. 2001), suggesting that findings and conclusions should
be separately filed, divided between the factual propositions and the legal results deemed
to flow therefrom.
2. In its findings/conclusions, the trial court found that A.M.B. had established by clear
and convincing evidence that the affidavit of waiver of interest in child complied with 
section 161.106; by (26) that she had established by clear and convincing evidence that
the affidavit complied with section 161.106 and (27) that under section 161.106 the affidavit
was irrevocable.  
3. The trial court found that G.W.B. was furnished with a copy of the affidavit the day
after he signed the affidavit.

